        Case 1:07-cv-12056-PBS Document 167 Filed 09/01/08 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                Docket No.: 07-12056-PBS
                                    )
JEFFREY SHIELDS                     )
                                    )
____________________________________)

                    RESPONDENT’S LIST OF POTENTIAL WITNESSES

       For purposes of jury selection, respondent, Jeffrey Shields, requests that the Court inquire

as to whether any prospective jurors know the following persons:

       1. Dr. Craig Rypma of Des Moines, Iowa

       2. Detective Kelly Gorham of the Portland Police Department, Portland, Maine

       3. United States Probation Officer Dan Kelly of Portland, Maine

       4. Dr. Dawn Graney from Butner, North Carolina

       5. Raenae Moore of Portland, Maine

       6. Stephen Thomas of Portland, Maine

                                                     Respectfully submitted,
                                                     JEFFREY SHIELDS
                                                     By his attorney:

                                                     /s/ Page Kelley
                                                     Page Kelley
                                                     Assistant Federal Defender
                                                     Federal Defender Office
                                                     408 Atlantic Ave.
                                                     Boston, MA 02110

September 1, 2008
         Case 1:07-cv-12056-PBS Document 167 Filed 09/01/08 Page 2 of 2




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on September 1,
2008.
                                                         /s/ Page Kelley
                                                        Page Kelley
